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Exhibit EE
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS
TYLER DIVISION

MARVELL SEMICONDUCTOR, INC.
MARVELL ASIA PTE., LTD., and MARVELL
INTL., LTD,

Plaintiffs and

Counterdefendants, Civil Action No. 6-07-CV-204 LED

V. Oral Argument Requested

COMMONWEALTH SCIENTIFIC AND
INDUSTRIAL RESEARCH ORGANISATION

Jury Trial Demanded

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Defendant and
Counterclaimant.

LRLP LN LP LP SLPS LT LT LP SPALL LT LP

JOINT STIPULATION REGARDING SONY DOCUMENTS

Marvell Semiconductor, Inc., Marvell Asia Pte., Ltd., and Marvell Intl., Ltd. (“Marvell”) and
Commonwealth Scientific and Industrial Research Organisation (“CSIRO”) have met and conferred
regarding subpoenas served by CSIRO on Sony Computer Entertainment America; Inc. and Sony
Electronics; Inc. (“Sony Subpoenas”). The parties have reached the following agreement regarding
documents produced by CSIRO in relation to the Sony Subpoenas and identified by Bates Numbers

indicated below

(“Sony Docs.”):

1) Based on CSIRO’s representation that the Sony Docs. were downloaded by CSIRO

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Marvell stipulates that for purposes of this matter only. the Sony Docs. identified below will be
treated as are-authentic business records under Federal Rules of Evidence Rules 803(6) and 901:

DS0005605-DS0005617; DS0005647-D$0005661; DS0005692-D$0005705; DS0005865-

D§$0005875; DS0005946-DS0005957; DS0005959-DS0005997; DS0006254-DS0006292;

DS0006533-DS0006572; DS0007148-DS0007705:; DS0007714-DS0007750: DS0007778-

DS$0007827; DS0007841-DS0007864; DS0007916-DS0007923: DS0007926-DS0008045;

DS0008725-DS0008820; DS00010236; and DS0012498-DS0012499:

2 Based_on CSIRO’s representation that the Sony Docs. were downloaded by_CSIRO

from_either Son m r_En inment America In nd/or Sonv Electronics In i

hentic under Federal Rule of Evidence 901:

DS0007775-DS0007777;__DS0007903-DS0007915; DS0008923-DS0008925; DS0008945-

DS0008952: DS0012500-DS0012508: DS0012512; and DS0012513-12514:

3) By entering into this stipulation, Marvell is (1) taki

Docs. other than _as_ explicitly set forth in paragraphs 1 and 2 above, (2) not agreeing to the

admissibility of the Sony Docs., en-any-etherbases-and-(3) reservinges its right to make objections

relating to the admissibility of the Sony Docs., and_(4) reserving its right to move to exclude their

admission into evidence-based-en-these-objeetions,_and -

4) This stipulation shall only apply in the above-captioned litigation and will not have

any force or effect otherwise.

Approved as to form and substance this day of 2010.

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Approved as to form and substance this 4th day of March 2010.

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